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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

 STATE OF NEW MEXICO,

          Plaintiff,                                    No. 1:18-cv-00854-MV-KBM

 vs.

 TINY LAB PRODUCTIONS, et al.,

          Defendants.


                                 NOTICE OF COMPLETION

         The parties hereby give notice to the Court that briefing on the following Motion is

complete:

         1.      The SDK Defendant’s Motion to Dismiss the Complaint for Failure to State a

Claim [Doc. 47]

         2.      Opposition to SDK Defendant’s Motion to Dismiss the Complaint for Failure to

State a Claim [Doc. 65]

         3.      The SDK Defendants’ Reply in Support of Their Motion to Dismiss the

Complaint for Failure to State a Claim [Doc. 73]

         This Motion has now been fully briefed and are ready for decision by this honorable

Court.

Dated: April 12, 2019                MODRALL, SPERLING, ROEHL, HARRIS
                                        & SISK, P.A.
                                     By: /s/ Nathan T. Nieman
                                        Nathan T. Nieman
                                        Timothy C. Holm
                                        Tomas J. Garcia
                                        Post Office Box 2168
                                        Albuquerque, New Mexico 87103-2168
                                        Telephone: 505.848.1800
                                        ntn@modrall.com
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                                       tch@modrall.com
                                       tjg@modrall.com

                                   FENWICK & WEST LLP
                                   By /s/ Tyler G. Newby
                                      Tyler Newby
                                      Attorneys for AerServ LLC and InMobi Pte. Ltd.
                                      555 California Street
                                      San Francisco, CA 94104
                                      Telephone: (415) 875-2300
                                      tnewby@fenwick.com


Dated: April 12, 2019              WIGGINS, WILLIAMS & IGGINS
                                   A Professional Corporation
                                   By /s/ Lorna M. Wiggins
                                      Lorna M. Wiggins
                                      Attorneys for Twitter, Inc. and MoPub, Inc.
                                      1803 Rio Grande Blvd., N.W. (87104)
                                      P.O. Box 1308
                                      Albuquerque, New Mexico 87103-1308
                                      Telephone: (505) 764-8400
                                      lwiggins@wwwlaw.us
                                   PERKINS COIE LLP
                                   By /s/ Julie E. Schwartz
                                      James Snell
                                      Julie E. Schwartz
                                      Attorneys for Twitter, Inc. and MoPub, Inc.
                                      3150 Porter Drive
                                      Palo Alto, CA 94304
                                      Telephone: (650) 838-4300
                                      JSnell@perkinscoie.com
                                      JSchwartz@perkinscoie.com


        I HEREBY CERTIFY that on the 12th day of April, 2019, I filed the foregoing
electronically through the CM/ECF system, which caused the parties or counsel of record to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing.

MODRALL, SPERLING, ROEHL, HARRIS
    & SISK, P.A.

By: /s/ Nathan T. Nieman
        Nathan T. Nieman


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